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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

UNITED STATES OF AMERICA
                                                 No. 21 CR 469
           v.
                                                 Judge Charles R. Norgle, Sr.
MAURICE THOMPSON

                JOINT MOTION TO CONTINUE STATUS HEARING

      The UNITED STATES OF AMERICA, by its attorney, JOHN R. LAUSCH, JR.,

United States Attorney for the Northern District of Illinois, and defendant MAURICE

THOMPSON, by his attorney SYED H. HUSSAIN, hereby submit the following joint

motion to continue the status hearing on June 29, 2022:

      1.        On or about July 26, 2021, a grand jury returned an indictment charging

defendant Maurice Thompson with: (1) distribution of one kilogram or more of heroin,

in violation of 21 U.S.C. § 841(a)(1) (Count One); (2) distribution of 500 grams or more

of cocaine, in violation of 21 U.S.C. § 841(a)(1) (Count Two); and (3) possession with

intent to distribute 400 grams or more of fentanyl and 100 grams or more of

carfentanil, in violation of 21 U.S.C. § 841(a)(1) (Count Three). Dkt. No. 1.

      2.        In addition, in the Southern District of Illinois, on or about October 6,

2020, a grand jury returned a superseding indictment charging defendant with:

(1) conspiracy to distribute and possess with intent to distribute 50 grams or more of

methamphetamine (actual) or 500 grams or more of a mixture and substance

containing methamphetamine, in violation of 21 U.S.C. § 841(a)(1) (Count One); and

(2) possession with intent to distribute 50 grams or more of a mixture and substance
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containing methamphetamine, in violation of 21 U.S.C. § 841(a)(1) (Count Four).

Case No. 20 CR 40052 (S.D. Ill.), Dkt. No. 22. On or about June 7, 2022, pursuant to

a plea agreement, defendant pleaded guilty in Case No. 20 CR 40052 (S.D. Ill.). Dkt.

Nos. 186; 187. Sentencing is currently scheduled for September 13, 2022. Id.

      3.     In light of the resolution of the charges in the Southern District of

Illinois, the parties have arranged for a meeting to discuss a potential resolution of

the charges in the instant case, which is scheduled for July 8, 2022. Accordingly, the

parties respectfully request that the June 29, 2022 status hearing be rescheduled for

August 2022, such as August 2 or 4, 2022. Defendant does not object to the exclusion

of time, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B).

                                              Respectfully submitted,

                                              JOHN R. LAUSCH, JR.
                                              United States Attorney

                                       By:    /s/ G. David Rojas
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Dated: June 27, 2022




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